         Case 1:21-cr-00179-RCL Document 106 Filed 05/25/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             :
UNITED STATES OF AMERICA                     :       Case No.: 21-cr-179 RCL
                                             :
       v.                                    :
                                             :
RACHEL POWELL,                               :
                                             :
       Defendant.                            :


                  GOVERNMENT’S RESPONSE TO THE DEFENDANT


       On May 10, 2023, at the conclusion of the trial in United States v. Rachel Powell, the

Court asked the parties whether they would prefer to file separate or joint proposed findings of

fact. The government asked to file separate proposed findings of fact, and the defendant did not

object. The Court further asked the parties if they wanted to respond to each other’s proposed

findings or file simultaneously. The government requested simultaneous filings, and the

defendant did not object.

       Accordingly, the Court ordered that the parties’ proposed findings be filed

simultaneously in two weeks, or May 24, 2023. [1] Notably, the Court did not order joint filings,

nor did the Court order the parties to meet and confer. See Minute Order, May 10, 2023.

Counsel for the defendant was put on notice that he needed to file his own proposed findings,

and the government further reminded him of this in a May 19, 2023, email. Thus, for the past

two weeks, the defendant was aware that the government did not want to file joint proposed




       [1]
          In United States v. Yoder, 21-cr-505-RCL, the parties did not file separate findings of
fact. They agreed to file one document.
         Case 1:21-cr-00179-RCL Document 106 Filed 05/25/23 Page 2 of 2




findings, and the fact that the government has remained consistent in its decision is not

“gamesmanship.”

       Moreover, defense counsel does not need to “speculatively reinvent the government’s

case.” Counsel for the defendant sat through the entire trial just as counsel for the government.

He sat through the same testimony, and he has access to the same exhibits.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                                     By:    /s/ Lucy Sun______
                                                     Lucy Sun
                                                     Adam Dreher
                                                     Assistant United States Attorneys
                                                     Massachusetts Bar Number 691766
                                                     Michigan Bar No. P79246



                                CERTIFICATE OF SERVICE

       I, Lucy Sun, hereby certify that on this day, May 25, 2023, I caused a copy of the
foregoing document to be served on the defendant’s attorney, Nicholas Smith, via ECF.

                                              By:    /s/ Lucy Sun__
                                                     Lucy Sun




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